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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      Middle District
                                                  __________ DistrictofofFlorida
                                                                          __________


                      Josiah Colon et al.                         )
                             Plaintiff                            )
                                v.                                )      Case No.   8:23-cv-00223-MSS-MRM
                           ATF et al.                             )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendants                                                                                                         .


Date:          04/13/2023                                                                    /s/ Taylor Pitz
                                                                                           Attorney’s signature


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